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                      1    THORPE SHWER, P.C.
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                      6    Attorneys for Applicant Julia Allison Baugher
                      7
                      8
                                               UNITED STATES DISTRICT COURT FOR THE
                      9
                                                            DISTRICT OF ARIZONA
                     10
                           In the Matter of the Application of Julia       MISCELLANEOUS ACTION:
                     11    Allison Baugher
                                                                           DECLARATION OF BENJAMIN
THORPE SHWER, P.C.




                     12                                                    STERNBERG IN SUPPORT OF
                                                                           REQUEST FOR ISSUANCE OF
                     13                                                    SUBPOENA PURSUANT TO 17
                                                                           U.S.C. § 512(h)
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                     16
                          I, Benjamin Sternberg, hereby declare as follows:
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                                    1.   I am an attorney in good standing admitted to practice in the District of
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                          Columbia and am an associate at the law firm Lutzker & Lutzker LLP.
                     19
                                    2.   I am intellectual property counsel to Ms. Julia Allison Baugher
                     20
                          (“Ms. Baugher”) in the above-captioned matter, and I am authorized to act on behalf of
                     21
                          Ms. Baugher.
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                                    3.   Pursuant to 17 U.S.C. § 512(h), I submit this Declaration in support of
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                          Ms. Baugher’s request for issuance of a subpoena duces tecum to GoDaddy.com, LLC (the
                     24
                          “DMCA Subpoena”). I have personal knowledge of the facts stated in this Declaration.
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                                    4.   On September 24, 2019, I submitted a Digital Millennium Copyright Act
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                          takedown notification on behalf of Ms. Baugher to GoDaddy.com, LLC (the “DMCA
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                          Takedown Request”). Thereafter, on September 27, 2019, GoDaddy.com, LLC responded
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                      1   to Ms. Baugher’s DMCA Takedown Request and indicated that the content in question had
                      2   been removed.             True and accurate copies of the DMCA Takedown Request and
                      3   GoDaddy.com, LLC’s response are attached hereto as Exhibit 1.
                      4             5.        The purpose for which the DMCA Subpoena is sought is to obtain the
                      5   identity       of   the    unknown   individual   who   owns    and      operates   the   website
                      6   https://rebloggingdonk.com/ and has used the pseudonym “Gilly Blake”1 to post content
                      7   that infringes Ms. Baugher’s exclusive copyright rights. Any identifying information
                      8   obtained in connection with the DMCA Subpoena will only be used for the purpose of
                      9   protecting Ms. Baugher’s rights under title 17 of the United States Code.
                     10             I declare under penalty of perjury under the Laws of the United States of America
                     11   that the foregoing is true and correct.
THORPE SHWER, P.C.




                     12
                     13   Executed on October 4, 2019 at Washington, D.C.
                     14
                     15
                                                                                      ____/s/ Benjamin Sternberg______
                     16                                                                   Ben Sternberg
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                          1
                           Prior to using the pseudonym “Gilly Blake,” the infringing operator or operators of the
                          Blog used the pseudonyms “JC Donk LaRue” and “Julia’s Publicist.” If “JC Donk LaRue”
                     27   and “Julia’s Publicist” refer to distinct individuals, the DMCA Subpoena should be
                          construed as seeking identifying information relating to those website operators as well.
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